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UNITED STATES BANKRUPTCY COURT

Western District of Kentucky

 

IN RE: Case No.: 14-11216-jal
Eugene A. Shy

Debtor(s) Chapter 7

 

AMENDED ORDER

Notice having been given and no objections having been filed to the Motion to Avoid
Lien;

IT IS HEREBY ORDERED that the lien of New Falls Corporation, filed of record in the
Offices of Warren County Clerk in Book E117, Pages 439-440, in the following described
property is AVOIDED, which is described as:

BEGINNING at the property line at the corner of the Thimble Finger
Lane and Mohawk Drive, thence North 71-3/4 East 150 feet to a
point; thence North 12 West 98 feet to a stake; thence South 72 %
West 150 feet to a stake; thence South 72 % West 150 feet to a stake;
thence South 12 East 97-1/10 feet, more or less, and along the
property line of Mohawk Drive to the point of beginning, containing
all of the land lying within said survey as made on September 5,
1962, by Chester Gilliam, Warren County, Surveyor.

Being the same property conveyed to Robert V. Dalton and wife,
Carolyn G. Dalton from Harry L. Dalton and wife, Elizabeth Dalton
by deed dated December, 1962 ad of record in Deed Book 335, Page
447, in the Warren County Court Clerk’s Office. Being the same
property conveyed to Robert V. Dalton from Carolyn Dalton Brown
and Horace Brown, her husband by Deed Dated March 1970 and of
record in deed Book 393, Page 292, in the office aforesaid.

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The Warren County Court Clerk, shall make a notation indicating that the lien in

Lien/Encumbrance Book E117 Pages 439-440, has been released by this Court Order of the

United States Bankruptcy Court for the Western District of Kentucky.

IT IS SO ORDERED, this day of

Tendered by:

Harlan E. Judd, III

Judd, Satterfield & Associates, PLLC
869 Broadway Avenue

Bowling Green, KY 42101
Telephone: (270) 904-4141
Facsimile: (888) 590-2842

s/Harlan E. Judd, IU
Harlan E. Judd, II

CLERK, PLEASE SEND COPIES TO:

Alicia C. Johnson
PO Box 1654
Russellville, KY 42276

Charles R. Merrill

Asst. U.S.Trustee

601 West Broadway #512
Louisville, KY 40202

New Falls Corporation
100 North Center Street
Newton Falls, OH 44444

Local Form I

, 2019,
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William F. Codell

Harned, Bachert &Denton, LLP
324 East 10" Avenue

P.O. Box 1270

Bowling Green, KY 42102

Harlan E. Judd, III

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869 Broadway Avenue

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